         Case 1:17-cv-00206-BLW Document 57 Filed 08/09/19 Page 1 of 5



LAURENCE J. LUCAS (ISB # 4733)
ADVOCATES FOR THE WEST
P.O. Box 1612
Boise, Idaho 83701
(208) 342-7024
(208) 342-8286 (fax)
llucas@advocateswest.org

TALASI B. BROOKS (ISB # 9712)
WESTERN WATERSHEDS PROJECT
P.O. Box 2863
Boise, ID 83701
(208) 336-0977
tbrooks@westernwatersheds.org

Attorneys for Plaintiffs

                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,
CENTER FOR BIOLOGICAL DIVERSITY,                    No. 1:17-CV-206-BLW
WILDEARTH GUARDIANS, and
PREDATOR DEFENSE,
                                                    STIPULATION AND JOINT MOTION FOR
                     Plaintiffs,                    ENTRY OF FINAL JUDGMENT

                v.

USDA APHIS WILDLIFE SERVICES,

                     Defendant.


       Plaintiffs and Defendant, by and through their undersigned counsel, hereby stipulate and

jointly move for entry of final judgment in this matter, as follows:

       WHEREAS, Plaintiffs Western Watersheds Project, et al. filed the Complaint in this

action in May 2017 to challenge the November 2016 Final Environmental Assessment for

Predator Damage Management in Idaho (“EA”) and associated November 22, 2016 Decision and




STIPULATION AND JOINT MOTION FOR ENTRY OF FINAL JUDGMENT - 1
         Case 1:17-cv-00206-BLW Document 57 Filed 08/09/19 Page 2 of 5



Finding of No Significant Impact (“DN/FONSI”) issued by Defendant USDA APHIS Wildlife

Services (“Wildlife Services”), see ECF No. 1;

       WHEREAS, on June 22, 2018, the Court issued a Memorandum Decision and Order

granting Plaintiffs’ motion for summary judgment and denying Defendant’s cross-motion for

summary judgment, “find[ing] that Wildlife Services acted in an arbitrary and capricious manner

in deciding not to prepare an [Environmental Impact Statement]”, see ECF No. 33 (“Summary

Judgment Decision”);

       WHEREAS, on August 18, 2018, Plaintiffs filed a Motion for Remedies, see ECF No.

39, which the Court granted in part and denied in part in its Memorandum Decision and Order

entered on November 29, 2018, which vacated and remanded the EA and DN/FONSI, but

declined to enter interim relief sought by Plaintiffs, see ECF No. 51 (“Remedies Decision”);

       WHEREAS, counsel for the parties engaged in negotiations regarding Wildlife Services’

future predator damage management activities in Idaho in light of the Court’s Remedies Order,

but were unable to resolve all of their differences;

       WHEREAS, Wildlife Services published notice in the Federal Register in March 2019

that it is preparing an EIS to analyze its predator damage management activities in Idaho, see

USDA APHIS, “Environmental Impact Statement for Predator Damage Management in Idaho,”

84 Fed. Reg. 7326 (Mar. 4, 2019) (“March 2019 EIS Notice”);

       WHEREAS, Wildlife Services published a scoping notice in the Federal Register in June

2019 proposing issues and alternatives for consideration in the EIS and requesting public

comments, see USDA APHIS, “Environmental Impact Statement for Predator Damage

Management in Idaho,” 84 Fed. Reg. 26,809 (June 10, 2019) (“June 2019 EIS Scoping Notice”);




STIPULATION AND JOINT MOTION FOR ENTRY OF FINAL JUDGMENT - 2
         Case 1:17-cv-00206-BLW Document 57 Filed 08/09/19 Page 3 of 5



       WHEREAS, Wildlife Services notified Plaintiffs of modifications to the Agency’s

interim predator damage management activities in Idaho until the EIS is finalized and a Record

of Decision issued;

       WHEREAS, the Remedies Decision directed that Plaintiffs file a new action before this

Court if they seek to challenge Wildlife Services’ interim predator damage management

activities in Idaho, see ECF No. 51 at 5-7;

       WHEREAS, the parties now agree that Plaintiffs’ claims in this matter have been fully

resolved and that further proceedings in this matter are unnecessary;

       WHEREAS, the parties seek to finally resolve this matter through entry of Final

Judgment, while reserving their respective rights to take further actions or bring further legal

challenges in accordance with the Court’s Summary Judgment Decision and Remedies Decision;

and

       WHEREAS, Plaintiffs further reserve the right to seek an award of reasonable attorney

fees and litigation costs incurred in this matter pursuant to the Equal Access to Justice Act,

following the Court’s entry of Final Judgment.

       NOW, THEREFORE, based on the foregoing, Plaintiffs and Defendants jointly stipulate

and move the Court to enter Final Judgment under FED. R. CIV. P. 58 through the proposed form

of Final Judgment submitted herewith.

IT IS SO STIPULATED AND JOINTLY MOVED.

Dated: August 9, 2019                 /s/ Laurence (“Laird”) J. Lucas
                                      LAURENCE J. LUCAS (ISB # 4733)
                                      ADVOCATES FOR THE WEST
                                      P.O. Box 1612
                                      Boise, Idaho 83701
                                      (208) 342-7024
                                      (208) 342-8286 (fax)
                                      llucas@advocateswest.org



STIPULATION AND JOINT MOTION FOR ENTRY OF FINAL JUDGMENT - 3
      Case 1:17-cv-00206-BLW Document 57 Filed 08/09/19 Page 4 of 5




                           TALASI B. BROOKS (ISB # 9712)
                           WESTERN WATERSHEDS PROJECT
                           P.O. Box 2863
                           Boise, ID 83701
                           (208) 336-0977
                           tbrooks@westernwatersheds.org

                           Attorneys for Plaintiffs



                           /s/ Robert Burke Firpo
                           CHRISTINE GEALY ENGLAND
                           ROBERT BURKE FIRPO
                           United States Attorney’s Office
                           800 Park Blvd. Ste. 600
                           Boise ID 83712
                           (208) 334-1211
                           christine.england@usdoj.gov
                           robert.firpo@usdoj.gov

                           Attorneys for Defendants




STIPULATION AND JOINT MOTION FOR ENTRY OF FINAL JUDGMENT - 4
         Case 1:17-cv-00206-BLW Document 57 Filed 08/09/19 Page 5 of 5



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of August, 2019, I electronically filed the foregoing

STIPULATION AND JOINT MOTION FOR ENTRY OF FINAL JUDGMENT through the

CM/ECF system, which caused the following parties or counsel to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:


 Christine G. England
 Christine.England@usdoj.gov

 Robert B. Firpo
 Robert.Firpo@usdoj.gov

 William G. Myers III
 wmyers@hollandhart.com

                                             /s/ Laird J. Lucas
                                             Laird J. Lucas




STIPULATION AND JOINT MOTION FOR ENTRY OF FINAL JUDGMENT - 5
